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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TENNESSEE


  AMERICAN SPIRIT AND CHEER ESSENTIALS,
  ET AL.

                   Plaintiffs,                               Case No. 2:20-cv-02782-SHL-tmp
          v.

  VARSITY BRANDS, LLC, ET AL.,

                   Defendants.


      DEFENDANTS VARSITY BRANDS, LLC; BSN SPORTS, LLC; STANBURY
 UNIFORMS, LLC; HERFF JONES, LLC; VARSITY INTROPA TOURS, LLC; VARSITY
    SPIRIT, LLC; VARSITY BRANDS HOLDING CO., INC.; AND VARSITY SPIRIT
   FASHION & SUPPLIES, LLC RESPONSES AND OBJECTIONS TO PLAINTIFF’S
                 REQUEST FOR PRODUCTION OF DOCUMENTS

        Under Rule 34 of the Federal Rules of Civil Procedure, Defendants Varsity Brands, LLC;

 BSN Sports, LLC; Stanbury Uniforms, LLC; Herff Jones, LLC; Varsity Intropa Tours, LLC;

 Varsity Brands Holding Co., Inc.; Varsity Spirit, LLC; Varsity Spirit Fashion & Supplies, LLC

 (collectively, “Varsity”) hereby respond to Plaintiff’s Request for Production of Documents to

 All Defendants.

                                 OBJECTIONS TO DEFINITIONS

        Varsity notes that the term “AACCA” does not appear in any Request. Varsity

 accordingly has disregarded the purported definition of this term but reserves its right to object to

 such definition if used in other contexts.

        Varsity objects to the definition of “All-Star Cheer” contained in Definition 4 as vague

 and ambiguous. Varsity will interpret this term as it does in the ordinary course of its business.
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        Varsity notes that the term “All-Star Gym” does not appear in any Request. Varsity

 accordingly has disregarded the purported definition of this term but reserves its right to object to

 such definition if used in other contexts.

        Varsity notes that the term “Bid” does not appear in any Request. Varsity accordingly

 has disregarded the purported definition of this term but reserves its right to object to such

 definition if used in other contexts.

        Varsity objects to the inclusion of “dance” within the definition of “Camp” in Definition

 9. Varsity will exclude “dance” from the definition of “Camp.”

        Varsity objects to the definition of “Championship” in Definition 10 in that it refers to the

 vague and undefined criteria “nationally recognized” and “School State and National.” Varsity

 will interpret the term “Championship” as referring to the USASF Cheerleading Worlds, the

 Summit, and the U.S. Finals.

        Varsity notes that the term “Competitive Cheer” does not appear in any Request. Varsity

 accordingly has disregarded the purported definition of this term but reserves its right to object to

 such definition if used in other contexts.

        Varsity objects to Definition 14 as confusing, vague, ambiguous, and seeking to impose

 an undue burden. Varsity will interpret the terms therein as commonly used in the English

 language.

        Varsity objects to the definition of “Defendant” in Definition 15. Varsity will respond

 only as to itself as required under the Federal Rules of Civil Procedure.

        Varsity objects to the definitions of “Document” and “Records” in Definition 16 to the

 extent they differ from the definitions in the agreed ESI protocol and will interpret the terms as




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 defined in the agreed ESI protocol. Varsity further objects to the definition of “Event” in

 Definition 16 and will interpret that term as it does in the ordinary course of its business.

        Varsity notes that the term “Event Producer” does not appear in any Request. Varsity

 accordingly has disregarded the purported definition of this term but reserves its right to object to

 such definition if used in other contexts.

        Varsity notes that the term “IASF” does not appear in any Request. Varsity accordingly

 has disregarded the purported definition of this term but reserves its right to object to such

 definition if used in other contexts.

        Varsity objects to the definitions of “IMPACT Program,” “VIP Branding,” and “New

 School Construction Program” in Definition 19 and will interpret those terms as it does in the

 ordinary course of its business.

        Varsity notes that the term “NCA” does not appear in any Request. Varsity accordingly

 has disregarded the purported definition of this term but reserves its right to object to such

 definition if used in other contexts.

        Varsity objects to the definition of “NFHS” in Definition 21 and will interpret the term

 “NFHS” as the National Federation of State High School Associations and its known employees,

 officers, and directors, acting as such.

        Varsity objects to the term “School” in Definition 22 as unnatural in including “state

 government entities that oversee the high school, college, and university system” and as vague

 and ambiguous as to “agents” and “representatives.” Varsity will interpret the term as officers

 and employees of schools acting as such.

        Varsity objects to the term “School Cheer” in Definition 23 as vague and ambiguous and

 will interpret the term as it does in the ordinary course of its business.




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        Varsity objects to the definition of “School Cheer Competition” in Definition 24 in that it

 refers to the vague and undefined criteria “nationally recognized.” Varsity will interpret the term

 as encompassing the competitions listed.

        Varsity notes that the term “UCA” does not appear in any Request. Varsity accordingly

 has disregarded the purported definition of this term but reserves its right to object to such

 definition if used in other contexts.

        Varsity notes that the term “USA Cheer” does not appear in any Request. Varsity

 accordingly has disregarded the purported definition of this term but reserves its right to object to

 such definition if used in other contexts.

        Varsity notes that the term “USASF” does not appear in any Request. Varsity

 accordingly has disregarded the purported definition of this term but reserves its right to object to

 such definition if used in other contexts.

        Varsity objects to the definition of “Varsity” in Definition 28 will interpret those terms as

 encompassing Varsity Brands, LLC; BSN Sports, LLC; Stanbury Uniforms, LLC; Herff Jones,

 LLC; Varsity Intropa Tours, LLC; Varsity Brands Holding Co., Inc.; Varsity Spirit, LLC; Varsity

 Spirit Fashion & Supplies, LLC; any entities under the legal control of those entities; and any of

 their known employees, officers, and directors, acting as such.

                                   OBJECTIONS TO INSTRUCTIONS

        Varsity objects to Instruction 1 because it references Rule 45 of the Federal Rules of Civil

 Procedure, which is not the applicable Rule for seeking documents from a party to the litigation.

 Varsity will interpret this instruction as instead referring to Rule 34 of the Federal Rules of Civil

 Procedure, which Plaintiffs cite as the Rule under which they are seeking documents at the

 beginning of their Request for Production.




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         Varsity objects to Instructions 2 and 3 as vague and ambiguous and seeking to impose

 obligations beyond those required by the Federal Rules of Civil Procedure. Varsity will respond

 in accordance with the Federal Rules of Civil Procedure and/or order of the Court. Varsity will

 not undertake to define broad meanings of terms to include documents that would not otherwise

 be included.

         Varsity objects to Instruction 4 to the extent it seeks to impose obligations beyond those

 required by the Federal Rules of Civil Procedure. Varsity specifically disclaims any obligation to

 identify documents previously produced and will not do so. Without in any way limiting the

 foregoing, Varsity further objects to Instruction 4 and to all of the Requests to the extent they are

 intended to apply to information or documents that are not available in the ordinary course of

 Varsity’s business, for example archive and/or disaster recovery backups of electronic data.

         Varsity objects to Instruction 6 because the phrase “Where the context in a Request

 makes it appropriate” is vague and ambiguous. Varsity will disregard Instruction 6.

         Varsity objects to Instruction 7 to the extent it seeks to impose obligations beyond those

 required by the Federal Rules of Civil Procedure and specifically disclaims any obligation to

 produce documents created after June 30, 2020. Varsity further notes Rule 45 of the Federal

 Rules of Civil Procedure is inapplicable.

         Varsity agrees with Instruction 8 but notes that Plaintiffs have entirely failed to follow the

 ESI Protocol in this case.

         Varsity objects to Instruction 9 as seeking to impose unduly burdensome obligations that

 are beyond those required by the Federal Rules of Civil Procedure. Varsity will respond in

 accordance with the Federal Rules of Civil Procedure and will disregard Instruction 9 in its

 entirety.




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        Varsity objects to Instruction 10 to the extent it is inconsistent with the Parties’ Agreed

 ESI Protocol. Although Plaintiffs have completely failed to comply with the Parties’ Agreed ESI

 Protocol, Varsity will comply with the Parties’ Agreed ESI Protocol and will otherwise disregard

 Instruction 10. Varsity also objects to Instruction 10’s reference to other ongoing actions as

 seeking to impose obligations beyond those required by the Federal Rules of Civil Procedure and

 the orders of the Court. Varsity will not comply with this instruction.

                                        GENERAL OBJECTIONS

        Varsity objects to the Requests to the extent that they purport to impose any obligations

 upon Varsity that differ from, exceed the scope of, or are in addition to those imposed by the

 Federal Rules of Civil Procedure, applicable local rules, or any other applicable laws or rules. In

 responding to these requests, Varsity will comply with the Federal Rules of Civil Procedure and

 otherwise rejects any further obligation on its part.

        Varsity objects to the time period and the definition of “Relevant Time Period.” Any

 request for documents after June 30, 2020 would be overly broad, unduly burdensome, and

 disproportional to the needs of the case. To the extent Varsity produces documents in response to

 the requests, Varsity will only do so for documents created during the period January 1, 2015 to

 June 30, 2020.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any Request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.




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 236), discovery has closed, and Varsity will not produce further documents in response to any

 such Request to that extent.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests beyond that which it has already produced.

                  OBJECTIONS AND RESPONSES TO INDIVIDUAL REQUESTS

        Request No. 1: Produce for inspection all IMPACT program agreements, VIP Branding

 agreements or New School Construction Program agreements entered with any junior high, high

 school or college from 2015 to the present. If you should answer that the requested documents

 have already been provided, then, in that event, please identify those records by referencing the

 bates stamp or ESI protocol numbers for the referenced documents that were already produced.

        Objections and Response to Request No. 1: Discovery in this case closed on April 18,

 2022, except as to new Plaintiffs and as to topics that were the subject of the Court’s Protective

 Order of June 1, 2021. (ECF No. 132.) To the extent any Request seeks information not the

 subject of the Court’s Protective Order of June 1, 2021, including any document on the subject of

 cheerleading (other than “athletic equipment or uniforms strictly used in the scholastic setting –




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 including scholastic cheerleading,” ECF No. 236), discovery has closed, and Varsity will not

 produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Requests for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        In light of Varsity’s objections, Varsity will not produce further documents in response to

 this Request. Varsity otherwise reserves its rights, including the right to interpose additional

 objections should a further response be deemed to be required.

        Request No. 2: Produce any records, dec [sic] presentations, sales presentations or

 documents that reflect the word “market share” relating to school sales of cheerleading uniforms,

 cheer shoes/sneakers or cheer merchandise or the business done by Defendants in the school

 market for cheer sales from 2015 to the present. If you should answer that the requested

 documents have already been provided, then, in that event, please identify those records by




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 referencing the bates stamp or ESI protocol numbers for the referenced documents that were

 already produced.

        Objections and Response to Request No. 2: Varsity objects to Request for Production

 No. 2 because it seeks irrelevant information, is overly broad, unduly burdensome, and

 disproportionate to the needs of the case.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.




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        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 3: Produce any documents or records that establish any sponsorship

 agreements by Defendants of any state school athletic or coaches’ annual conventions or any

 conventions held by the National Federation of State High Schools (NFHS) from 2015 to the

 present. If you should answer that the requested documents have already been provided, then, in

 that event, please identify those records by referencing the bates stamp or ESI protocol numbers

 for the referenced documents that were already produced.

        Objections and Response to Request No. 3: Discovery in this case closed on April 18,

 2022, except as to new Plaintiffs and as to topics that were the subject of the Court’s Protective

 Order of June 1, 2021. (ECF No. 132.) To the extent any request seeks information not the

 subject of the Court’s Protective Order of June 1, 2021, including any document on the subject of

 cheerleading (other than “athletic equipment or uniforms strictly used in the scholastic setting –

 including scholastic cheerleading,” ECF No. 236), discovery has closed, and Varsity will not

 produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to




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 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        In light of Varsity’s objections, Varsity will not produce further documents in response to

 this Request. Varsity otherwise reserves its rights, including the right to interpose additional

 objections should a further response be deemed to be required.

        Request No. 4: Produce any documents or records that establish agreements between

 Defendants and the National Federation of State High Schools (NFHS) from 2015 to the present.

 If you should answer that the requested documents have already been provided, then, in that

 event, please identify those records by referencing the bates stamp or ESI protocol numbers for

 the referenced documents that were already produced.

        Objections and Response to Request No. 4: Discovery in this case closed on April 18,

 2022, except as to new Plaintiffs and as to topics that were the subject of the Court’s protective

 order of June 1, 2021. (ECF No. 132.) To the extent any request seeks information not the

 subject of the Court’s Protective Order of June 1, 2021, including any document on the subject of




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 cheerleading (other than “athletic equipment or uniforms strictly used in the scholastic setting –

 including scholastic cheerleading,” ECF No. 236), discovery has closed, and Varsity will not

 produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        In light of Varsity’s objections, Varsity will not produce further documents in response to

 this Request. Varsity otherwise reserves its rights, including the right to interpose additional

 objections should a further response be deemed to be required.

        Request No. 5: Produce any letters authored by any of the Defendants threatening an

 individual competitor or business competitor with litigation, restraining order, injunction or other

 legal proceeding from 2015 to the present. If you should answer that the requested documents




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 have already been provided, then, in that event, please identify those records by referencing the

 bates stamp or ESI protocol numbers for the referenced documents that were already produced.

        Objections and Response to Request No. 5: Varsity objects to Request for Production

 No. 5 because it seeks irrelevant information, and is unduly burdensome, overly broad, and

 disproportionate to the needs of the case.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s protective order of June 1,

 2021, including any document on the subject of cheerleading (other than “athletic equipment or

 uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.




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        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        In light of Varsity’s objections, Varsity will not produce further documents in response to

 this Request. Varsity otherwise reserves its rights, including the right to interpose additional

 objections should a further response be deemed to be required.

        Request No. 6: Produce all records that discuss or relate to the school “Spirit Awards”

 referenced on Defendants web sites. If you should answer that the requested documents have

 already been provided, then, in that event, please identify those records by referencing the bates

 stamp or ESI protocol numbers for the referenced documents that were already produced.

        Objections and Response to Request No. 6: Varsity objects to Request for Production

 No. 6 because it seeks wholly irrelevant information, and is unduly burdensome, overly broad,

 and disproportionate to the needs of the case. Varsity further objects to Request No. 6 because

 the phrase “school ‘Spirit Awards’ referenced on Defendants web sites” is vague and ambiguous.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        In light of Varsity’s objections, Varsity will not produce further documents in response to

 this Request. Varsity otherwise reserves its rights, including the right to interpose additional

 objections should a further response be deemed to be required.




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        Request No. 7: Produce all sales records or sales documents for graduation regalia to

 include caps and gowns, class or championship rings, tassels or graduation announcements from

 2015 to the present. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

        Objections and Response to Request No. 7: Varsity objects to Request for Production

 No. 7 because it is unduly burdensome, overly broad, and disproportionate to the needs of the

 case. Varsity further objects to Request No. 7 because the terms “sales records” and “sales

 documents” are vague and ambiguous.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.




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        In light of Varsity’s objections, Varsity will not produce further documents in response to

 this Request. Varsity otherwise reserves its rights, including the right to interpose additional

 objections should a further response be deemed to be required.

        Request No. 8: Produce all documents or records that reflect or show the names of the

 competitors of Defendants in the scholastic cheer market for the years 2016, 2017, 2018, 2019

 and 2020. If you should answer that the requested documents have already been provided, then,

 in that event, please identify those records by referencing the bates stamp or ESI protocol

 numbers for the referenced documents that were already produced.

        Objections and Response to Request No. 8: Varsity objects to Request for Production

 No. 8 because the term “show the names of the competitors” is vague and ambiguous.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those




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 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 9: Produce all records or documents that evidence or show due diligence for

 the acquisition of any of the Defendants school related businesses by Bain (or any subdivision of

 Bain Capital). If you should answer that the requested documents have already been provided,

 then, in that event, please identify those records by referencing the bates stamp or ESI protocol

 numbers for the referenced documents that were already produced.

        Objections and Response to Request No. 9: Per the Scheduling Order in this case (ECF

 No. 100), Plaintiffs had 90 days from the promulgation of requests to bring any disputes

 regarding Varsity’s objections to those requests to the Court for resolution. The Court has

 already ruled that, because Plaintiff did not bring any such disputes to the Court in accordance

 with its Order, Varsity is not required to produce any discovery encompassed by the prior

 Requests for Production, dated January 28, 2022 and February 26, 2021. (ECF No. 177.)

 Similarly, the deadline for bringing any disputes over BSN’s and Herff Jones’s responses to




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 Plaintiffs Requests for Production has passed, and those entities are accordingly not required to

 produce any discovery encompassed by the Request for Production, dated February 10, 2021.

 Varsity accordingly will not produce any documents encompassed by those earlier discovery

 requests.

         Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

         Request No. 10: Produce all records or documents that mention or reflect anything

 regarding Defendants competitor N’finity in the school cheer market from 2015 to the present. If

 you should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

         Objections and Response to Request No. 10: Varsity objects to Request for Production

 No. 10 because it is unduly burdensome, overly broad, and disproportionate to the needs of the

 case.

         Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over




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 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

         Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

         Moreover, Varsity notes that Request for Production No. 10 is duplicative of and

 subsumed by Request No. 13 below.

         Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

         Request No. 11: Produce all records or documents that mention or reflect anything

 regarding Defendants competitor Rebel in the school cheer market from 2015 to the present. If

 you should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

         Objections and Response to Request No. 11: Varsity objects to Request for Production

 No. 11 because it is unduly burdensome, overly broad, and disproportionate to the needs of the

 case.




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        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        Moreover, Varsity notes that Request for Production No. 11 is duplicative of and

 subsumed by Request No. 13 below.

        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 12: Produce all records or documents that mention or reflect anything

 regarding Defendants competitor NIKE in the school cheer market from 2015 to the present. If

 you should answer that the requested documents have already been provided, then, in that event,




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 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

         Objections and Response to Request No. 12: Varsity objects to Request for Production

 No. 12 because it is unduly burdensome, overly broad, and disproportionate to the needs of the

 case.

         Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

         Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

         Moreover, Varsity notes that Request for Production No. 12 is duplicative of and

 subsumed by Request No. 13 below.

         Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents




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 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

         Request No. 13: Produce all records or documents that mention or reflect anything

 regarding any other competitor of Defendants in the school cheer market from 2015 to the

 present. If you should answer that the requested documents have already been provided, then, in

 that event, please identify those records by referencing the bates stamp or ESI protocol numbers

 for the referenced documents that were already produced.

         Objections and Response to Request No. 13: Varsity objects to Request for Production

 No. 13 because it is unduly burdensome, overly broad, and disproportionate to the needs of the

 case.

         Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

         Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those




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 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        Moreover, Varsity notes that Request for Production No. 13 subsumes Requests No. 10

 through 12 above, thereby making those Requests duplicative of Request No. 13.

        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 14: Produce any records or documents that mention or reflect any school

 cheer related sales made by Defendants for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

        Objections and Response to Request No. 14: Varsity objects to Request for Production

 No. 14 because it is unduly burdensome, overly broad, and disproportionate to the needs of the

 case. Varsity further objects to Request No. 14 because the term “school cheer related sales” is

 vague and ambiguous.




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        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents




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 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

         Request No. 15: Produce any records or documents that mention or reflect American

 Spirit and Cheer Essentials, Inc., Rockstar Championships, LLC or Jeff & Craig Cheer, LLC,

 d/b/a Jeff and Craig Camps from 2015 to the present. If you should answer that the requested

 documents have already been provided, then, in that event, please identify those records by

 referencing the bates stamp or ESI protocol numbers for the referenced documents that were

 already produced.

         Objections and Response to Request No. 15: Varsity objects to Request for Production

 No. 15 because it is unduly burdensome, overly broad, and disproportionate to the needs of the

 case.

         Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

         Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

         Varsity also objects to Request No. 15 to the extent it seeks material that is subject to

 attorney-client privilege or the work product doctrine or other legal privilege or immunity from

 discovery.




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        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 16: Produce any records or documents that mention or reflect any school

 camp related sales made by Defendants for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

        Objections and Response to Request No. 16: Varsity objects to Request for Production

 No. 16 because it is overly broad, unduly burdensome, and disproportionate to the needs of the

 case. Varsity further objects because the term “school camp related sales” is vague and

 ambiguous.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any




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 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 17: Produce any records or documents that mention or reflect any school

 cheer competition related sales made by Defendants for the years 2016, 2017, 2018, 2019 or

 2020. If you should answer that the requested documents have already been provided, then, in

 that event, please identify those records by referencing the bates stamp or ESI protocol numbers

 for the referenced documents that were already produced.

        Objections and Response to Request No. 17: Varsity objects to Request for Production

 No. 17 because it is overly broad, unduly burdensome, and disproportionate to the needs of the




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 case. Varsity further objects because the term “school cheer competition related sales” is vague

 and ambiguous.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.




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        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed.

        In light of this and Varsity’s objections, Varsity will not produce further documents in

 response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 18: Produce any records or documents that mention or reflect annual sales

 figures for Allstar cheer uniforms, sneakers, or cheer merchandise for the years 2016, 2017,

 2018, 2019 or 2020. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

        Objections and Response to Request No. 18: Varsity objects to Request for Production

 No. 18 because it is overly broad, unduly burdensome, and disproportionate to the needs of the

 case. Varsity further objects because the term “cheer merchandise” is vague and ambiguous.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any




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 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 19: Produce any records or documents that mention or reflect annual sales

 figures for school cheer uniforms, sneakers, or cheer merchandise for the years 2016, 2017,

 2018, 2019 or 2020. If you should answer that the requested documents have already been

 provided, then, in that event, please identify those records by referencing the bates stamp or ESI

 protocol numbers for the referenced documents that were already produced.

        Objections and Response to Request No. 19: Varsity objects to Request for Production

 No. 19 because it is overly broad, unduly burdensome, and disproportionate to the needs of the

 case. Varsity further objects because the term “cheer merchandise” is vague and ambiguous.




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        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

        Varsity objects to Request for Production No. 19 as seeking the production of documents

 that are largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 20: Produce any records or documents that mention or reflect annual sales

 figures for Allstar cheer competitions for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.




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         Objections and Response to Request No. 20: Varsity objects to Request for Production

 No. 20 because it is overly broad, unduly burdensome, and disproportionate to the needs of the

 case.

         Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

         Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

         Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.




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         Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

         Request No. 21: Produce any records or documents that mention or reflect annual sales

 figures for school cheer competitions for the years 2016, 2017, 2018, 2019 or 2020. If you

 should answer that the requested documents have already been provided, then, in that event,

 please identify those records by referencing the bates stamp or ESI protocol numbers for the

 referenced documents that were already produced.

         Objections and Response to Request No. 21: Varsity objects to Request for Production

 No. 21 because it is overly broad, unduly burdensome, and disproportionate to the needs of the

 case.

         Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

         Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any




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 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

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 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

         Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

         Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

         Request No. 22: Produce any records or documents that mention or reflect annual sales

 figures for school cheer camps for the years 2016, 2017, 2018, 2019 or 2020. If you should

 answer that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

         Objections and Response to Request No. 22: Varsity objects to Request for Production

 No. 22 because it is overly broad, unduly burdensome, and disproportionate to the needs of the

 case.




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        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

         Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents




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 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

        Request No. 23: Produce any records or documents that mention or reflect annual sales

 figures for Allstar cheer camps for the years 2016, 2017, 2018, 2019 or 2020. If you should

 answer that the requested documents have already been provided, then, in that event, please

 identify those records by referencing the bates stamp or ESI protocol numbers for the referenced

 documents that were already produced.

        Objections and Response to Request No. 23: Varsity objects to Request for Production

 No. 23 because it is overly broad, unduly burdensome, and disproportionate to the needs of the

 case. Varsity further objects because the term “Allstar cheer camps” is vague and ambiguous.

        Discovery in this case closed on April 18, 2022, except as to new Plaintiffs and as to

 topics that were the subject of the Court’s Protective Order of June 1, 2021. (ECF No. 132.) To

 the extent any request seeks information not the subject of the Court’s Protective Order of June

 1, 2021, including any document on the subject of cheerleading (other than “athletic equipment

 or uniforms strictly used in the scholastic setting – including scholastic cheerleading,” ECF No.

 236), discovery has closed, and Varsity will not produce further such information.

        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those




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 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

         Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.

         Varsity further objects to this Request as seeking the production of documents that are

 largely or entirely duplicative of documents previously sought, as to which production is

 completed. In light of this and Varsity’s objections, Varsity will not produce further documents

 in response to this Request. Varsity otherwise reserves its rights, including the right to interpose

 additional objections should a further response be deemed to be required.

         Request No. 24: Produce any records or documents that mention or reflect annual sales

 figures for school class rings, competition rings, caps and gowns, tassels, and/or graduation

 regalia for the years 2016, 2017, 2018, 2019 or 2020. If you should answer that the requested

 documents have already been provided, then, in that event, please identify those records by

 referencing the bates stamp or ESI protocol numbers for the referenced documents that were

 already produced.

         Objections and Response to Request No. 24: Varsity objects to Request for Production

 No. 24 because it is overly broad, unduly burdensome, and disproportionate to the needs of the

 case.

         Varsity also objects to any Request for documents that were created outside of the period

 January 1, 2015 to June 30, 2020 and will not produce documents created outside of those dates,

 inclusive.




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        Per the Scheduling Order in this case (ECF No. 100), Plaintiffs had 90 days from the

 promulgation of requests to bring any disputes regarding Varsity’s objections to those requests to

 the Court for resolution. The Court has already ruled that, because Plaintiff did not bring any

 such disputes to the Court in accordance with its Order, Varsity is not required to produce any

 discovery encompassed by the prior Requests for Production, dated January 28, 2022 and

 February 26, 2021. (ECF No. 177.) Similarly, the deadline for bringing any disputes over

 BSN’s and Herff Jones’s responses to Plaintiffs Requests for Production has passed, and those

 entities are accordingly not required to produce any discovery encompassed by the Request for

 Production, dated February 10, 2021. Varsity accordingly will not produce any documents

 encompassed by those earlier discovery requests.

        In light of Varsity’s objections, Varsity will not produce further documents in response to

 this Request. Varsity otherwise reserves its rights, including the right to interpose additional

 objections should a further response be deemed to be required.



  Dated: September 23, 2022

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